Case 2:09-cv-04414-SDW-LDW Document 1015 Filed 03/05/19 Page 1 of 2 PageID: 16205



                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF NEW JERSEY


                                                      )
   DAVID FOSCUE, et ux.,                              )
             PLAINTIFFS,                              )    Case No.: 12-7491
                                                      )    MDL Docket No. 2158
   v.                                                 )
                                                      )    Assigned to: Hon. Susan D. Wigenton
   ZIMMER INC., et al,                                )
                                                      )
                  DEFENDANTS.                         )
                                                      )
                                                      )

                          REPLY IN SUPPORT OF MOTION FOR
                       COURT-ASSISTED SETTLEMENT CONFERENCE

          The first court-assisted settlement conference in this case was held on May 12, 2014,

   before four Durom Cup cases were tried to verdict, and exactly two years before this Court

   enacted the Global Settlement Program (the “GSP”). (See May 12, 2014, Minute Entry, 2:12-cv-

   07491; Settlement Case Management Order dated May 13, 2016, MDL Dkt. 925). The GSP

   ordered by this Court imposes specific requirements for in-person attendance that Plaintiffs have

   not met—unlike nearly all other Plaintiffs in the MDL, resulting in settlement of 95% of eligible

   claims in the MDL. Indeed, the day before the June 23, 2017, mediation, Zimmer learned that

   Plaintiff and their counsel would not attend in-person. While Zimmer’s counsel nevertheless

   traveled to Chicago and attended in-person, given the last-minute notice that no one would attend

   from the Plaintiff’s side, Zimmer’s counsel told Zimmer’s representative to change his plans and

   be available by phone instead of in-person. Zimmer simply requests that Plaintiffs be bound by

   the same requirements with which nearly all other Plaintiffs in this MDL have complied. And,

   given their continued efforts to oppose these requirements, Zimmer submits that a court-assisted

   settlement conference is necessary at this time.
Case 2:09-cv-04414-SDW-LDW Document 1015 Filed 03/05/19 Page 2 of 2 PageID: 16206




   Dated: March 5, 2019                          Respectfully submitted,
                                                 FAEGRE BAKER DANIELS LLP


                                                 /s/ J. Joseph Tanner
                                                 J. Joseph Tanner
                                                 Andrew L Campbell
                                                 Stephanie N. Russo
                                                 300 North Meridian Street
                                                 Indianapolis, IN 46204
                                                 Phone: (317)237-0300
                                                 Fax: (317) 237-1000
                                                 Joe.Tanner@faegrebd.com
                                                 Andrew.Campbell@faegrebd.com
                                                 Stephanie.Russo@faegrebd.com
                                                 Attorneys for Defendants Zimmer, Inc.,
                                                 Zimmer Biomet Holdings, Inc., and Zimmer US, Inc.




                                    CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing document has been served upon all counsel

   of record via ECF this 5th day of March, 2019.



                                                 /s/ J. Joseph Tanner




                                                    2

   US.122209089.04
